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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                       Criminal No. 16-333 (DWF)

UNITED STATES OF AMERICA,
                                              GOVERNMENT’S RESPONSE
                  Plaintiff,                  IN OPPOSITION TO
                                              DEFENDANT’S MOTION FOR
                  v.                          COMPASSIONATE RELEASE
                                              UNDER 18 U.S.C.
LUIS ANGEL GARCIA,                            § 3582(c)(1)(A)

                  Defendant.

      Luis Garcia is an inmate at Lompoc FCI who recently recovered from the
COVID-19 virus. He has filed a motion asking this Court to reduce his sentence
of imprisonment under 18 U.S.C. § 3582(c)(1)(A) and order his immediate
release, relying solely on the threat posed by the COVID-19 pandemic. The
United States respectfully opposes the motion. This Court should deny the
motion without prejudice for Garcia’s failure to exhaust administrative
remedies. Should the Court reach the merits, it should deny the motion with
prejudice because he has not met his burden of establishing that a sentence
reduction is warranted under the statute.

                               Factual Background
     In September 2017, Garcia was convicted of possessing with intent to
distribute 4.25 kilograms of methamphetamine. Doc. No. 58. This Court
sentenced him to 120 months of imprisonment, and he has served about 43
months (or 35%) of that sentence. Garcia now moves under 18 U.S.C. §
3582(c)(1)(A) for a sentence reduction resulting in his immediate release from
the custody of the Bureau of Prisons (BOP), relying solely on the threat posed
by the COVID-19 pandemic.



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I.    BOP’s Response to the COVID-19 Pandemic
      As this Court is well aware, COVID-19 is an extremely dangerous illness
that has caused many deaths in the United States in a short period of time and
that has resulted in massive disruption to our society and economy. In response
to the pandemic, BOP has taken significant measures to protect the health of
the inmates in its charge.
      BOP has explained that “maintaining safety and security of [BOP]
institutions is [BOP’s] highest priority.” BOP, Updates to BOP COVID-19
Action     Plan:     Inmate    Movement     (Mar.    19,     2020),    available   at
https://www.bop.gov/resources/news/20200319_covid19_update.jsp.
      Indeed, BOP has had a Pandemic Influenza Plan in place since 2012.
BOP      Health    Services Division, Pandemic      Influenza Plan-Module          1:
Surveillance       and   Infection   Control    (Oct.      2012),     available    at
https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf. That protocol is
lengthy and detailed, establishing a multi-phase framework requiring BOP
facilities to begin preparations when there is first a “[s]uspected human
outbreak overseas.” Id. at i. The plan addresses social distancing, hygienic and
cleaning protocols, and the quarantining and treatment of symptomatic
inmates.
      Consistent with that plan, BOP began planning for potential coronavirus
transmissions in January. At that time, the agency established a working
group to develop policies in consultation with subject matter experts in the
Centers for Disease Control, including by reviewing guidance from the World
Health Organization.
      On March 13, 2020, BOP began to modify its operations, in accordance
with its Coronavirus (COVID-19) Action Plan (“Action Plan”), to minimize the
risk of COVID-19 transmission into and inside its facilities. Since that time, as


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events require, BOP has repeatedly revised the Action Plan to address the
crisis.
          BOP’s operations are presently governed by Phase Seven of the Action
Plan. The current modified operations plan requires that all inmates in every
BOP institution be secured in their assigned cells/quarters, in order to stop any
spread of the disease. Only limited group gathering is afforded, with attention
to social distancing to the extent possible, to facilitate commissary, laundry,
showers, telephone, and computer access. Further, BOP has severely limited
the movement of inmates and detainees among its facilities. Though there will
be exceptions for medical treatment and similar exigencies, this step as well
will limit transmissions of the disease. Likewise, all official staff travel has
been cancelled, as has most staff training.
          All staff and inmates have been and will continue to be issued face masks
and strongly encouraged to wear an appropriate face covering when in public
areas when social distancing cannot be achieved.
          Every newly admitted inmate is screened for COVID-19 exposure risk
factors and symptoms. Asymptomatic inmates with risk of exposure are placed
in quarantine for a minimum of 14 days or until cleared by medical staff.
Symptomatic inmates are placed in isolation until they test negative for
COVID-19 or are cleared by medical staff as meeting CDC criteria for release
from isolation. In addition, in areas with sustained community transmission,
all facility staff are screened for symptoms. Staff registering a temperature of
100.4 degrees Fahrenheit or higher are barred from the facility on that basis
alone. A staff member with a stuffy or runny nose can be placed on leave by a
medical officer.
          Contractor access to BOP facilities is restricted to only those performing
essential services (e.g. medical or mental health care, religious, etc.) or those

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who perform necessary maintenance on essential systems. All volunteer visits
are suspended absent authorization by the Deputy Director of BOP. Any
contractor or volunteer who requires access will be screened for symptoms and
risk factors.
      Social and legal visits were stopped as of March 13, and remain
suspended at this time, to limit the number of people entering the facility and
interacting with inmates. In order to ensure that familial relationships are
maintained throughout this disruption, BOP has increased detainees’
telephone allowance to 500 minutes per month. Tours of facilities are also
suspended. Legal visits will be permitted on a case-by-case basis after the
attorney has been screened for infection in accordance with the screening
protocols for prison staff.
      Further details and updates of BOP’s modified operations are available
to the public on the BOP website at a regularly updated resource page:
www.bop.gov/coronavirus/index.jsp.
      In addition, in an effort to relieve the strain on BOP facilities and assist
inmates who are most vulnerable to the disease and pose the least threat to
the community, BOP is exercising greater authority to designate inmates for
home confinement. On March 26, 2020, the Attorney General directed the
Director of the Bureau of Prisons, upon considering the totality of the
circumstances concerning each inmate, to prioritize the use of statutory
authority to place prisoners in home confinement. That authority includes the
ability to place an inmate in home confinement during the last six months or
10% of a sentence, whichever is shorter, see 18 U.S.C. § 3624(c)(2), and to move
to home confinement those elderly and terminally ill inmates specified in 34
U.S.C. § 60541(g). Congress has also acted to enhance BOP’s flexibility to
respond to the pandemic. Under the Coronavirus Aid, Relief, and Economic

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Security Act, enacted on March 27, 2020, BOP may “lengthen the maximum
amount of time for which the Director is authorized to place a prisoner in home
confinement” if the Attorney General finds that emergency conditions will
materially affect the functioning of BOP. Pub. L. No. 116-136, § 12003(b)(2),
134 Stat. 281, 516 (to be codified at 18 U.S.C. § 3621 note). On April 3, 2020,
the Attorney General gave the Director of BOP the authority to exercise this
discretion, beginning at the facilities that thus far have seen the greatest
incidence of coronavirus transmission. As of this filing, BOP has transferred
4,579 inmates to home confinement, which is an increase of 160% since March
2020. See Federal Bureau of Prisons, COVID-19 Home Confinement
Information, at https://www.bop.gov/coronavirus/. (last accessed Jun. 26,
2020).
      Taken together, all of these measures are designed to mitigate sharply
the risks of COVID-19 transmission in a BOP institution. BOP has pledged to
continue monitoring the pandemic and to adjust its practices as necessary to
maintain the safety of prison staff and inmates while also fulfilling its mandate
of incarcerating all persons sentenced or detained based on judicial orders.
      Unfortunately and inevitably, some inmates like Garcia have become ill,
and more likely will in the weeks ahead. But BOP must consider its concern
for the health of its inmates and staff alongside other critical considerations.
For example, notwithstanding the current pandemic crisis, BOP must carry
out its charge to incarcerate sentenced criminals to protect the public. It must
consider the effect of a mass release on the safety and health of both the inmate
population and the citizenry. It must marshal its resources to care for inmates
in the most efficient and beneficial manner possible. It must assess release
plans, which are essential to ensure that a defendant has a safe place to live
and access to health care in these difficult times. And it must consider myriad

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other factors, including the availability of both transportation for inmates (at
a time that interstate transportation services often used by released inmates
are providing reduced service), and supervision of inmates once released (at a
time that the Probation Office has necessarily cut back on home visits and
supervision).

II.   Garcia’s Conviction and Request for a Sentence Reduction
      Garcia possessed 4.25 kilograms of methamphetamine and a stolen gun
in November 2016. PSR, ¶ 5-8. He has been in custody since his arrest in a
motel room in St. Cloud, Minnesota. PSR at F.1. His sentence expires on July
2, 2025. See BOP Inmate Locator, https://www.bop.gov/inmateloc/ (last
accessed Jun. 26, 2020).
      On June 19, 2020, Garcia filed a motion with this Court seeking
compassionate release under 18 U.S.C. § 3582(c)(1)(A) on the ground that he
had contracted the COVID-19 virus. Doc. No. 60. On that date he filed, Garcia
had been out of COVID-19 isolation status for about one month. See Def. Ex. 3
(Doc. No 62-3), Garcia Medical Records Update at 8 (describing COVID-19
virus “resolved” on May 15, 2020). Since that time, Garcia has been back to
work at his culinary job in the prison. E.g. Gov’t Ex. 1, Garcia Medical Records
Update at 11 (describing minor injury “in the vegetable prep area in the
kitchen” on June 10, 2020.).

                               Legal Framework
      Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain
circumstances, grant a defendant’s motion to reduce his or her term of
imprisonment. Before filing that motion, however, the defendant must first
request that BOP file such a motion on his or her behalf. § 3582(c)(1)(A). A
court may grant the defendant’s own motion for a reduction in his sentence



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only if the motion was filed “after the defendant has fully exhausted all
administrative rights to appeal a failure of the Bureau of Prisons to bring a
motion on the defendant’s behalf” or after 30 days have passed “from the
receipt of such a request by the warden of the defendant’s facility, whichever
is earlier.” Id.
      If that exhaustion requirement is met, a court may reduce the
defendant’s term of imprisonment “after considering the factors set forth in [18
U.S.C. § 3553(a)]” if the Court finds, as relevant here, that (i) “extraordinary
and compelling reasons warrant such a reduction” and (ii) “such a reduction is
consistent with applicable policy statements issued by the Sentencing
Commission.” § 3582(c)(1)(A)(i). As the movant, the defendant bears the
burden to establish that he or she is eligible for a sentence reduction. United
States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v. Green, 764
F.3d 1352, 1356 (11th Cir. 2014).
      The Sentencing Commission has issued a policy statement addressing
reduction of sentences under § 3582(c)(1)(A). As relevant here, the policy
statement provides that a court may reduce the term of imprisonment after
considering the § 3553(a) factors if the Court finds that (i) “extraordinary and
compelling reasons warrant the reduction;” (ii) “the defendant is not a danger
to the safety of any other person or to the community, as provided in 18 U.S.C.




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§ 3142(g);” and (iii) “the reduction is consistent with this policy statement.”
USSG § 1B1.13. 1
      The policy statement includes an application note that specifies the types
of medical conditions that qualify as “extraordinary and compelling reasons.”
First, that standard is met if the defendant is “suffering from a terminal
illness,” such as “metastatic solid-tumor cancer, amyotrophic lateral sclerosis
(ALS), end-stage organ disease, [or] advanced dementia.” USSG § 1B1.13, cmt.
n.1(A)(i). Second, the standard is met if the defendant is:
            (I) suffering from a serious physical or medical condition,
            (II) suffering from a serious functional or cognitive
            impairment, or
            (III) experiencing deteriorating physical or mental health
            because of the aging process,
      that substantially diminishes the ability of the defendant to
      provide self-care within the environment of a correctional facility
      and from which he or she is not expected to recover.
USSG § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other
conditions and characteristics that qualify as “extraordinary and compelling
reasons” related to the defendant’s age and family circumstances. USSG §
1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the possibility that BOP
could identify other grounds that amount to “extraordinary and compelling
reasons.” USSG § 1B1.13, cmt. n.1(D).


      1The policy statement refers only to motions filed by the BOP Director.
That is because the policy statement was last amended on November 1, 2018,
and until the enactment of the First Step Act on December 21, 2018,
defendants were not entitled to file motions under § 3582(c). See First Step Act
of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239; cf. 18 U.S.C.
§ 3582(c) (2012). In light of the statutory command that any sentence reduction
be “consistent with applicable policy statements issued by the Sentencing
Commission,” § 3582(c)(1)(A)(ii), and the lack of any plausible reason to treat
motions filed by defendants differently from motions filed by BOP, the policy
statement applies to motions filed by defendants as well.


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                                     Argument
          This Court should deny Garcia’s motion for a reduction in his sentence
without prejudice because he has failed to provide evidence that he exhausted
administrative remedies. Should the Court reach the merits of his motion, the
Court should deny it with prejudice on either of two independently sufficient
grounds. First, he has not established that “extraordinary and compelling
reasons” support a sentence reduction; second, he has not met his burden to
show that a reduction is warranted in light of the danger that he would pose
to the community and the relevant § 3553(a) factors.

I.        This Court Should Deny the Motion Without Prejudice Because
          Garcia Has Not Exhausted Administrative Remedies.
          This Court lacks authority to act on Garcia’s motion for a sentence
reduction at this time. As explained above, § 3582(c) requires that a request
for a sentence reduction be presented first to BOP for its consideration; only
after 30 days have passed, or the defendant has exhausted all administrative
rights to appeal the BOP’s failure to move on the defendant’s behalf, may a
defendant move for a sentence reduction in court. That restriction is
mandatory, and it continues to serve an important function during the present
crisis.
          Here, Garcia can only represent to the Court “on information and belief”
that he has presented a request to the Warden of Lompoc at some point in late
May 2020. See Doc. No. 61 and 8-9. But Section 3582(c) provides that a court
may not modify a term of imprisonment once it has been imposed unless it
“upon motion of the Director of the Bureau of Prisons, or upon motion of the
defendant after the defendant has fully exhausted all administrative rights to
appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s
behalf or the lapse of 30 days from the receipt of such a request by the warden



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of the defendant’s facility, whichever is earlier, may reduce the term of
imprisonment . . . .” § 3582(c)(1)(A). The requirement that a defendant either
exhaust administrative appeals or wait 30 days after presenting a request to
the warden before seeking judicial relief is mandatory and must be enforced by
the Court. As the Third Circuit recently confirmed, where 30 days have not
passed following presentation of a request to a warden, the statute “presents a
glaring roadblock foreclosing compassionate release at this point.” United
States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). Courts in this District have
consistently upheld the exhaustion requirement. E.g. United States v. Vangh,
2020 WL 1940808 at *3 (D. Minn. Apr. 22, 2020); United States v. Williams,
2020 WL 614807 at *2 (D. Minn. Feb. 10, 2020). And the vast majority of
district courts to address this issue agree. See, e.g., United States v. Epstein,
2020 WL 1808616 (D.N.J. Apr. 9, 2020) (citing numerous cases).
      “‘[A] judgment of conviction that includes [a sentence of imprisonment]
constitutes a final judgment’ and may not be modified by a district court except
in limited circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010). As
the Supreme Court has recognized, finality is an important attribute of
criminal judgments, and one “essential to the operation of our criminal justice
system.” Teague v. Lane, 489 U.S. 288, 309 (1989) (plurality opinion).
Accordingly, it is well established that once a district court has pronounced
sentence and the sentence becomes final, the court has no inherent authority
to reconsider or alter that sentence. Rather, it may do so only if authorized by
statute. See, e.g., United States v. Addonizio, 442 U.S. 178, 189 & n.16 (1979);
United States v. Washington, 549 F.3d 905, 917 (3d Cir. 2008); United States
v. Smartt, 129 F.3d 539, 540 (10th Cir. 1997) (“A district court does not have
inherent authority to modify a previously imposed sentence; it may do so only
pursuant to statutory authorization.”) (internal quotation marks omitted).

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      Consistent with that principle of finality, § 3582(c) provides that a court
generally “may not modify a term of imprisonment once it has been imposed,”
except in three circumstances: (i) upon a motion for reduction in sentence
under § 3582(c)(1)(A), such as that presented by the defendant; (ii) “to the
extent otherwise expressly permitted by statute or by Rule 35 of the Federal
Rules of Criminal Procedure,” § 3582(c)(1)(B); and (iii) where the defendant
was sentenced “based on” a retroactively lowered sentencing range,
§ 3582(c)(2).
      Given the plain language and purpose of the statute, the requirements
for filing a sentence-reduction motion—including the requirement that a
defendant exhaust administrative remedies or wait 30 days before moving in
court for a reduction—are properly viewed as jurisdictional. Section 3582(c)
states that a “court may not modify” a term of imprisonment except in
enumerated circumstances. 18 U.S.C. § 3582(c). It thus “speak[s] to the power
of the court rather than to the rights or obligations of the parties,” Landgraf v.
USI Film Prods., 511 U.S. 244, 274 (1994) (internal quotation marks omitted),
delineating “when, and under what conditions,” a court may exercise its
“‘adjudicatory authority,’” Bowles v. Russell, 551 U.S. 205, 212-13 (2007)
(quoting Eberhart v. United States, 546 U.S. 12, 16 (2005) (per curiam)). That
conclusion is reinforced by the historical powerlessness of the courts to modify
a sentence after the expiration of the term at which it was entered. See United
States v. Mayer, 235 U.S. 55, 67-69 (1914); United States v. Welty, 426 F.2d
615, 617-618 & n.8 (3d Cir. 1970). Section 3582(c) accordingly has been
understood as conferring the jurisdictional authority that previously was




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lacking by providing express statutory authorization to modify otherwise final
sentences. 2
      In recent years, the Supreme Court has cautioned against imprecise use
of the “jurisdictional” label, and explained that a statutory claim-processing
rule, even if mandatory, is presumed to be nonjurisdictional absent a clear
statement to the contrary. See Fort Bend County v. Davis, 139 S. Ct. 1843,
1848-50 (2019). A prescription is not jurisdictional merely because “it
‘promotes important congressional objectives,’” id. at 1851 (quoting Reed
Elsevier, Inc. v. Muchnick, 559 U.S. 154, 169 n.9 (2010)), and courts should not
deem jurisdictional rules that “seek to promote the orderly progress of
litigation by requiring that the parties take certain procedural steps at certain
specified times,” Henderson v. Shinseki, 562 U.S. 428, 435 (2011). But whether
a prescription is jurisdictional turns on Congress’s intent, which is properly
determined by the text, context, relevant historical treatment, and purpose of
the provision. Henderson, 562 U.S. at 436. Here, the relevant factors indicate
that § 3582(c) sets forth a jurisdictional limitation on a district court’s
authority to modify a sentence, such that a district court lacks jurisdiction to
consider a motion for a sentence reduction where the defendant has failed to
satisfy the exhaustion requirement of § 3582(c)(1)(A). 3
      While the government maintains that the time limitation in §
3582(c)(1)(A) is jurisdictional, given that it stands as an exception to the

      2 The Eighth Circuit has recognized that the prerequisites for relief
under § 3582(c)(2), which allows a sentence reduction based on a retroactive
guideline amendment, are jurisdictional. United States v. Auman, 8 F.3d 1268,
1271 (8th Cir. 1993).
      3 Although we use the term “exhaustion requirement,” to be clear, an
inmate need not “exhaust” administrative remedies if the motion is filed in
court 30 days after receipt of a request by the warden.


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historic and fundamental rule that courts may not revisit a final criminal
judgment, the point is ultimately academic. Even if the exhaustion
requirement of § 3582(c)(1)(A) is not jurisdictional, it is at least a mandatory
claim-processing rule and must be enforced if a party “properly raise[s]” it.
Eberhart, 546 U.S. at 19 (holding that Fed. R. Crim. P. 33, which permits a
defendant to move for a new trial within 14 days of the verdict, is a
nonjurisdictional but mandatory claim-processing rule). The government
raises the rule here, and it must be enforced. 4
      While Congress indisputably acted in the First Step Act to expand the
availability of compassionate release, it expressly imposed on inmates the
requirement of initial resort to administrative remedies. And this is for good
reason: BOP conducts an extensive assessment for such requests. See 28 C.F.R.
§   571.62(a);     BOP    Program        Statement   5050.50,    Compassionate
Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C.
§§ 3582(c)(1)(A)          and             4205(g),         available           at
https://www.bop.gov/policy/progstat/5050_050_EN.pdf. As         the    Procedures
reflect, the BOP completes a diligent and thorough review, with considerable
expertise concerning both the inmate and the conditions of confinement. Its
assessment will always be of value to the parties and the Court.
      That is especially true during the current crisis. As explained above,
BOP must balance a host of considerations in deciding whether to release an
inmate to recommend a reduction in an inmate’s sentence or grant the inmate

      4 Indeed, even those courts that have concluded that the requirements of
§ 3582(c)(2) are not jurisdictional still enforce the statutory prerequisites to
relief. See, e.g., United States v. Taylor, 778 F.3d 667, 670 (7th Cir. 2015)
(recognizing that even if a court has the “power to adjudicate” a motion under
§ 3582(c)(2), it may lack “authority to grant a motion . . . because the statutory
criteria are not met”) (emphasis in original).


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home confinement—not only the health of the inmate and BOP staff, but also
the safety of the public. BOP is best positioned to determine the proper
treatment of the inmate population as a whole, taking into account both
individual considerations in light of on an inmate’s background and medical
history and more general considerations regarding the conditions and needs at
particular facilities. The provision of § 3582(c)(1)(A) prioritizing administrative
review therefore makes sense not only in the ordinary case, but also at this
perilous time. As the Third Circuit has held, “[g]iven BOP’s shared desire for
a safe and healthy prison environment, . . . strict compliance with §
3582(c)(1)(A)’s exhaustion requirement takes on added—and critical—
importance.” Raia, 954 F.3d at 597. See also United States v. McCann, 2020
WL 1901089, at *2 (E.D. Ky. Apr. 17, 2020) (“The Court recognizes that these
are unsettling times for everyone, including prisoners. But in such a context,
the exhaustion requirement of the compassionate release statute is perhaps
most important.”).
      Accordingly, Garcia’s motion should be denied without prejudice to
refiling when he can demonstrate he exhausted administrative remedies.

II.   Should The Court Reach the Merits, It Should Deny The Motion
      Because Garcia Has Failed to Present Any “Extraordinary and
      Compelling Reasons” Warranting a Sentence Reduction and
      Because he Poses a Danger to Public Safety.
      Even if this Court had authority to grant Garcia’s motion for a reduction
of his sentence, it should be denied for two reasons. First, he has not identified
“extraordinary and compelling reasons” for that reduction within the meaning
of § 3582(c)(1)(A) and the Sentencing Commission’s policy statement. Second,
he poses a significant danger to the public and the statutory sentencing factors
do not weigh in favor of his release.




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      A.    Garcia Has Not Identified “Extraordinary and Compelling
            Reasons” for a Sentence Reduction.
      Garcia’s request for a sentence reduction should be denied because he
has not demonstrated “extraordinary and compelling reasons” warranting
release. As explained above, under the relevant provision of § 3582(c), a court
can grant a sentence reduction only if it determines that “extraordinary and
compelling reasons” justify the reduction and that “such a reduction is
consistent with applicable policy statements issued by the Sentencing
Commission.” 18 U.S.C. § 3582(c)(1)(A)(i); see also United States v. Bellamy,
2019 WL 3340699 (D. Minn. July 25, 2019). The Sentencing Commission’s
policy statement defines “extraordinary and compelling reasons” to include, as
relevant here, certain specified categories of medical conditions. USSG §
1B1.13, cmt. n.1(A).
      For that reason, to state a cognizable basis for a sentence reduction based
on a medical condition, a defendant first must establish that his condition falls
within one of the categories listed in the policy statement. Those categories
include, as particularly relevant here, (i) any terminal illness, and (ii) any
“serious physical or medical condition . . . that substantially diminishes the
ability of the defendant to provide self-care within the environment of a
correctional facility and from which he or she is not expected to recover.” USSG
1B1.13, cmt. n.1(A). If a defendant’s medical condition does not fall within one
of the categories specified in the application note (and no other part of the
application note applies), his or her motion must be denied.
      Garcia is a generally healthy young man. PSR, ¶ 43 (noting no physical
health concerns other than a 2016 drug overdose). His compassionate release
motion is based entirely around his COVID-19 diagnosis earlier this year. But
it has already been about two months since Garcia tested positive for the virus
(and possibly longer since he actually became infected), and his own exhibit

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reflects that he was released from isolation on May 15, 2020. See Def. Ex. 3
(Doc. No 62-3), Garcia Medical Records Update at 8 (describing COVID-19
virus “resolved” on May 15, 2020). Garcia is now back at work in the prison, as
evidenced by reports of minor injuries while working in the kitchen. See
generally Gov’t 1 Ex. 1. Everyone certainly hopes that Garcia’s post-COVID-19
recovery continues to be one without long-term complication, regardless of the
impact on his motion for release. However, the fact that he contracted COVID-
19 does not change the correct result in regards to his motion. Garcia is a young
man who appears to have recovered from COVID-19 without further incident,
in which case he will presumably have developed at least some level of
immunity, and his situation vis-à-vis COVID-19 will be better than the vast
majority of Americans.
      If Garcia does develop later complications, he will be treated by BOP.
And if his physical condition is later found to have substantially deteriorated
as a result of any complications such that she then may be able to demonstrate
“extraordinary and compelling reasons” under 18 U.S.C. § 3582(c)(1)(A)(i), he
may again move for relief.
      Another court in the Eighth Circuit addressed a similar scenario in
United States v. Brunston, 18-CR-40145-KES (D.S.D., May 26, 2020). There, a
37-year-old prisoner tested positive for COVID-19 while also suffering from
severe chronic medical conditions including Type 2 diabetes, asthma,
hypertensive heart disease with heart failure, hypertension, sleep apnea,
epilepsy/seizure disorder, and kidney disorder. Id. at 2. During his 14-day
observation period, he did not experience coughing, muscle pain, fatigue, sore
throat, loss of taste or smell, chills, or fever. Id. The court denied his request
under § 3582(c)(1)(A), notwithstanding his elevated risk:



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              [A]lthough Brunston has medical conditions that
              theoretically put him at a higher risk for severe illness,
              that has not been the case as of yet. It has been two
              weeks since Brunston tested positive, and his condition
              remains stable. . . . [T]he court finds that Brunston does
              not satisfy the criteria under USSG § 1B1.13 comment
              note 1(A) because his medical condition has not
              substantially diminished his ability to provide self-care
              within the correctional facility environment.
Id. at 6-7.
      Garcia claims, without any evidence whatsoever, that “he can be re-
infected and likely will be re-infected given the conditions at Lompoc.” Doc. No.
61 at 2. The government is unaware of any credible medical studies that
conclude with certainty whether a person can (or will) be re-infected once
recovered from COVID-19. Like so much about this new disease, the period of
immunity following infection is not yet understood. But Garcia’s own
experience proves the BOP can and does successfully treat individuals infected
with COVID-19, so he is “unable to establish that [he] cannot provide self-care
while in prison or that [he] would not be expected to recover should [he] become
infected again with the virus.” United States v. Lemon, Doc. No. 93 at 5, 08-cr-
246 (DSD) (D. Minn. Jun. 24, 2020).
      For these reasons, Garcia has failed to establish an “extraordinary and
compelling reason” for a sentence reduction under § 3582(c). The motion should
be denied.

      B.      Garcia Still Poses a Significant Danger to the Safety of the
              Community
      Garcia’s request for a sentence reduction should also be denied because
he has failed to demonstrate that he is not a danger to the safety of the
community. This Court must consider all pertinent circumstances, including
danger to the community should Garcia be released. Under the applicable



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policy statement, this Court must deny a sentence reduction unless it
determines the defendant “is not a danger to the safety of any other person or
to the community.” USSG § 1B1.13(2).
      Garcia would pose a danger to public safety if released. This Court
should deny a sentence reduction on that basis alone. He turned to drug
trafficking when he was “going through employment difficulties,” and law
enforcement found him with a very large quantity of methamphetamine and a
stolen firearm. PSR, ¶¶ 11, 5-8. During this time of historic unemployment,
Garcia presents no evidence that he will not return to drug trafficking upon
release. Indeed, he presents no release plan whatsoever, so the Court is left
without any information about what he would do or where he would live if
released. Further, Garcia has been caught with amphetamine while in prison
See Def. Ex. 1 (Doc. No 62-1). And he has not yet completed RDAP, which the
Court considered crucial to his rehabilitation at sentencing. See Doc. No. 58.

      C.    The § 3553(A) Factors Strongly Weigh Against Garcia’s
            Release.
      Before reducing a defendant’s term of imprisonment, a sentencing court
must not only find the existence of extraordinary and compelling reasons that
warrant a reduction in sentence, it must also consider the statutory sentencing
factors set forth in 18 U.S.C. § 3553(a). See 18 U.S.C. § 3582(c); United States
v. Chambliss, 948 F.3d 691, 694 (5th Cir. 2020); United States v. Hahn, 2020
WL 980185 at *3 (D. Minn. Feb 28, 2020). And even then, the power to reduce
a defendant’s term of imprisonment under § 3582(c)(1)(A) is discretionary – §
3582(c)(1)(A) provides that a court “may” reduce the term of imprisonment for
extraordinary and compelling reasons. Whatever the merits of the Garcia’s
contentions regarding his medical condition, this Court should not grant a 65%
reduction in his sentence.


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      Garcia’s crime is a serious one, which causes great harm to communities
around Minnesota. United States v. Rodd, 2019 WL 5623973, at *4 (D. Minn.
Oct. 31, 2019) (denial based on nature of criminal conduct). Garcia already
received a sentence 68 months below his Guidelines range. PSR, ¶ 60 (noting
Guidelines range as 188-235 months of imprisonment). To grant him a further
60-month reduction in his sentence would create an unwarranted sentencing
disparity. United States v. Nkajlo Vangh, 2019 WL 6907983 at *4 (D. Minn
Dec. 19, 2020) (court considered defendant’s medical needs at sentencing and
further reduction in sentence would create unwarranted disparity).

                                 Conclusion
      For these reasons, this Court should deny Garcia’s motion for a sentence
reduction without prejudice for failure to exhaust administrative remedies or,
in the alternative, deny the motion on the merits.

                                          Respectfully submitted,

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